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(Full name(s) of the plaintiff or petitioner applying (each person
must submit a separate application)
                                                                                CV                          (      ) (         )
                           -against-                                 (Enter case number and initials of assigned judges, if
                                                                     available; if filing this with your complaint, you will not
                                                                     yet have a case number or assigned judges.)




(Full name(s) of the defendant(s)/respondent(s).)


              APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS

I am a plaintiff/petitioner in this case and declare that I am unable to pay the costs of these proceedings and
I believe that I am entitled to the relief requested in this action. In support of this application to proceed in
forma pauperis (“IFP”) (without prepaying fees or costs), I declare that the responses below are true:

1.   Are you incarcerated?                            Yes                  No      (If “No,” go to Question 2.)
     I am being held at:

     Do you receive any payment from this institution?                 Yes              No
     Monthly amount:
     If I am a prisoner, see 28 U.S.C. § 1915(h), I have attached to this document a “Prisoner
     Authorization” directing the facility where I am incarcerated to deduct the filing fee from my account
     in installments and to send to the Court certified copies of my account statements for the past six
     months. See 28 U.S.C. § 1915(a)(2), (b). I understand that this means that I will be required to pay the
     full filing fee.
2. Are you presently employed?                       Yes                  No
     If “yes,” my employer’s name and address are:


     Gross monthly pay or wages:
     If “no,” what was your last date of employment?

     Gross monthly wages at the time:

3. In addition to your income stated above (which you should not repeat here), have you or anyone else
   living at the same residence as you received more than $200 in the past 12 months from any of the
   following sources? Check all that apply.

     (a) Business, profession, or other self-employment                                 Yes                       No
     (b) Rent payments, interest, or dividends                                          Yes                       No


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     (c) Pension, annuity, or life insurance payments                             Yes                No
     (d) Disability or worker’s compensation payments                             Yes                No
     (e) Gifts or inheritances                                                    Yes                No
     (f) Any other public benefits (unemployment, social security,
                                                                                  Yes                No
         food stamps, veteran’s, etc.)
     (g) Any other sources                                                        Yes                No
     If you answered “Yes” to any question above, describe below or on separate pages each source of
     money and state the amount that you received and what you expect to receive in the future.



     If you answered “No” to all of the questions above, explain how you are paying your expenses:



4.   How much money do you have in cash or in a checking, savings, or inmate account?



5. Do you own any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other
   financial instrument or thing of value, including any item of value held in someone else’s name? If so,
   describe the property and its approximate value:


6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
   expenses? If so, describe and provide the amount of the monthly expense:



7. List all people who are dependent on you for support, your relationship with each person, and how
   much you contribute to their support (only provide initials for minors under 18):


8. Do you have any debts or financial obligations not described above? If so, describe the amounts owed
   and to whom they are payable:


Declaration: I declare under penalty of perjury that the above information is true. I understand that a false
statement may result in a dismissal of my claims.


Dated                                                   Signature


Name (Last, First, MI)                                  Prison Identification # (if incarcerated)


Address                                  City                            State            Zip Code


Telephone Number                                        E-mail Address (if available)


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